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CHERYL FOLL@WELL, W.D. OF TN, i*¢TEN‘lPHiS
Appellant,
VS. NO. 05~2423-MaP
GEORGE E. MILLS, JR. ,

Appellee.

 

ORDER GR_ANTING MOTIONS 'TO APPEAR PRO HAC VICE’

 

Before the court are the June 20, 2005, motions for
admission pro hac vice of Virginia B. Townes and James E. Foster.
Ms. Townes and Mr. Foster are members in good standing of the bar
of the state of Florida. Ms. Townes is admitted to practice
before the United States District Courts for the Nortbern and
Middle Districts of Florida, the U.S. Court of Appeals for the
Eleventh Circuit, and the U.S. Supreme Court. Mr. Foster is
admitted to practice before the United States District Courts for
the Southern, Middle, and Northern Districts of Florida, the U.S.
Court of Appeals for the Eleventh Circuit, and the U.S. Supreme
Court. Ms. Townes and Mr. Foster have obtained and are familiar

Witb the local rules and professional guidelines of this court.

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For good cause shown, the motions are granted and Virginia B.
Townes and James E. Foster are admitted to participate in this

action as counsel for appellee.

rt is so ORDERE:D this B‘A day of June, 2005.

M(///M/L_/

SAMUEL H. MAYS, JR.
UNITED S'I'ATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02423 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

